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UNI“I`EB STATES D{STRICT C{)URT
CENTRAL DISTRICT OF CALIFORNEA

CoNNECTLCUT GENERAL L.EFE LNSURANCE viewed/fees

COMPANY, (see attached list for ali Plaintiffs)
PLA§:\:TlFt'-‘(s;

 

v.
AR{K ASLAN ZELKA, As Adrninstrator of the
ESTA’§`E OF HAY ZILKA, Deceased

 

SUMMONS
or-;FEN§)ANTLS).

 

 

TO: DEFENDANT(S): ARIK ASLAN Z`ILKA As Admini$trator of the `ESTATE OF `HAY ZELKA,
A iawsuit has been filed against you.

`Within 20 days after service of this summons on you (not counting the day you received it), you

must serve on the plaintiff an answer to the attached iii complaint [:! amended comp}aint
I:] counterc}.aim [:] cross-claim or a motion under Ruie 12 of the F ederal R'ules of Civik Procedure. The'zmswer
or motion must be served on the plaintiff s attomey, Edward Galtenberg , Whose address is

 

11'755 Wilshire Blvd. Suite 1230 Los Angeles_ CA 90025 . E'fyou faii to do so,

judgment by default will be entered against you for the relief demaoded in the complaint You also must file
your answer or motion with the court

Clerk, U.S. District Court

Dat€d: ‘Ms 24 m

 

 

 

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§§ days by Rz:{e iB{a);/S}/.

 

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|NCLUO§NG PRDFESS§ONAE_ EUF€PORAT|ONS

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t ATTACHMENT

LlST OF P§/AINTIFFS:

CONNECT{CUT GENERAL LIFE IN`S`URANCE COMPANY

EQU{TABLIF, L!FE ASSURANCE SOCIETY OF THE UNITED STATES

7‘ CIGNA EMPLOYEE BENEF!'I`S SERVICES, INC.

UNITEDHEALTH GROUP INCORPORATED ci.b.a. UNITEDHEALTH GROUP
10 HUMANA INC.

'AETNA LIFE INSURANCE COMPANY

13 AETNA INC.

 

 

GABTHNBERG G£;l}‘ANI) WASS<)N & S:»;LDEN LLI)

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-UNITEDHEALTH GROUP, HUMANA

 

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'Marvin_ Wexier

Lawrence C. Fo><.

KOR§\€ST`EIN VE!SZ WEXLER & P()LLARD, LLP
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Edward Gartenberg (SBN # 102693)

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Los An g,eies Califomia 90025

Tei: (310) 312- 576(}¢ Fax: (31{)) 477 7663
§Gartenberg@ggwsiaw. com

Attomeys for Plaintiffs

UN{TED STATES DIST'RICT COURT
CEN'TRAL DISTRICT ()F CALIFORNIA
W"ESTERN I)IVISION

CoNNECTICUT GEN ERAL LIFE
INS'URANCE CoMPAN\/, EQUI_TABLE § § §
LIFE AssURANCE soCIETY oF THE - ` § § f § s
UNITED sTATI~;s, CIGNA EM'PLO'YEE
BENEFITS sER\/ices, INC., CoMPLA;NT
UNITEDHEALTH GROUP ""'”"'""““'““““““"'°'“
rNCoRPoRATEo d.b.a.

 

INC., AETNA LIFE INSURANCE
COMPANY AND AETNA INC.,

Plaintiffs,
vs.
ARIK ASLAN ZILKA, AS Administrator
of the ESTATE OF HAYA ZILKA,
Deceased,

Defendant,

 

 

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COMPLAINT

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Pl_aiiitift“s Connecticut Gerieral Life insurance Company, Eqnitable Life A_ssurance
Society of the United States, and CIGNA Enrployee Benetits Services, Inc. (together,
“CIGNA"'), UnitedHealth Gronp incorporated dba UnitedHealth Group ("‘United”).,
Hinnana lnc_ (°‘Hurnana”), Aetna Life lnsuiance Cornpany and Aetna lnc. (toge-thet,
“Aetna”), for their Cornplaint, allege, with knowledge as to their own acts, and otherwise
on information and belief:

.}URISDICTION A_“NI) VENUE

l. This Conrt has jurisdiction over this action pursuant to 28 U.S.C-. § 1331,
because the action relates to enforcement oi` a iudgrnent entered in this Court arising
under the laws of the United States, and pursuant to 28 Lt.S.C. § l332, because the matter
in controversy exceeds the sum or value of 375,000 and is between citizens of different
States.

2. This Court is the proper venue for this action pursuant to 28 U.S.C. §
139`1(b), because a substantial part of the events or omissions giving rise to Piaintiffs’
claim occurred in this judicial district and because Plaintiffs’ claim relates to enforcement
of a ladgment issued by this Couit in this judicial district

CLAIM FOR RELIEF

3. This is an action to establish the validity of a claim for the unsatisfied
portion of a Judgrnent obtained by Plaintiffs in a related case in this Court. The
Defendant on that Judgrnent has died, and Plaintit`fs have asserted a claim on the
Judgrnent in a probate ];)roceeding9 but the Adrninisttator of the Estate of the deceased
Defendant has rejected the claim. The law requires that Piaintiffs establish the validity of
the claim in this Court, Where the lodginth was entered

4. CIGNA, United, H'tnnana and Aetna (the “Plaintiff Insurers”) are Piaintiffs
in a related action in this Court titled Connectz`cut Genemi L.§fe insurance Co,, et ¢:z!. v
New hinges of Bever!y Hilis, [nc, et ai., C.ase No. CV99-8197-T§H (VBKX`) (the ""§\ievv

images Case”)_ in the New lm_ages Case, the Plaintiff insurers sued 45 i)efendants,

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COMPLAENT

 

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alleging that those Defenclants participated in a massive insurance fraud scheme centered
at ten outpatient surgery clinics in Southern Califorriia.

5. One of the l)efendants in the New lmages Case was llaya Zilka. ln June
2003, the Court in the New images Case (Hon. Terry .l. Hatter, lr.) entered a RICO
ludgment for the Plaintiff insurers against llaya Ziika iri the total amount of
32,935,373.49 (the “Zill<a ludgrnent”). 'i`he Zill<a ludgment specified the portion of the
Zill<a ludgnient allocated to each of the Plaintiff lnsure;rs based on proofs of damage as
follows: Aetna -- $2,l45,279.33; limited -- $649,33l.l6; CIGNA -- 3113,846.73; Humaua
-~ §26,9l6.27. A copy of the Zilka ludgment is attached hereto as Bxhibit A.

6. After entry of the Zill<a ludgment, the Plaintiff Insurers collectively pursued
judgment enforcement against llaya Zillca. Both before and after entry of the Zilka
lndgrnent, Plaintiff insurers also collectively enforced judgments they obtained against
other Defendarits in the New lmages Case and entered into collective settlements with
other Defendants in the Case.

7. ln 2064, a dispute developed iri the New images Case between the Plairitiff

insurers and llaya Zill<a as to the amount of the Plaintiff insurers’ collections from other

Defendants in the Case that should be credited against the Zill<a .ludg,tnent. ln October
2004, Plaintii`f insurers calculated that, with proper crediting of collections from other
l)efendants, more than 32 million of the $2.935 million Zillca Judgment remained
unsatisfied In luly 2005, alter further collections, l’laintiff lnsurers calculated that more
than $l million of the Zill<a ludgrneut remained unsatisfied llaya Ziika contended that
the Zilka ludgment had been completely satisfied by the Plai.ntiff lnsurers’ collections
front other l)efendants.

3. ln january 2006, the Court in the New linages Case ruled that the Z,ill<a
ludgrnent had been completely satisfied by the Plaintiff lnsurers’ collections from other
Defendants (the “Satisfaction Ordet”). Plaintiff insurers promptly appealed the
Satisfaction Order to the United States Court ot` Appeals for the i\§inth Circuit, i\lo. 06-
55238 tthe "'Appeal“").

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COMPLAINT

 

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9. Ozt March 23, 2007, While the Appeal Was pe);zdingj Haya Zilka died
According to documents filed in a probate proceeding in the Superior Court ot` California,
County of Los Angeles, Case No. BPIGSSM (the “Probate Proceeding”), Defendant Arik
Aslaa Zilka, a soo of Haya Zilka, is the duly appointed, qualified and acting administrator
ot` the Estate of Haya Zilka, deceased According to such documents, Lettcrs ot`
Administration Were first issued to Arik Zill<a on Augtrst 27, 2067.

10. On Septernber 14, 2007, within the time aiiowed by law, each of the
Plaintift` lnsurers filed a separate Creditor’s Clairn in the Probate Proceeding and served it
upon the designated attorney t`or the Adrninistrator Arik Zil.l<a. in a Staternent of
Supporting Facts attached to each of those Ciaims, each Plaintiff Insurer stated the facts
alleged above concerning the Zill<a Judgment, the Satisfaction Order and the then~
pending Appeal. Each Crcditor’s Clairn also explained that, With additional collections
by the Plaintiff lnsurers’ from other Defendants, the total unsatisfied amount of the Zilka
lodginth calculated as of September 14, 2007 Was 3988,456.88, and each Clairn stated
the particular Plaintiff lnsurer’s share of that total amount and thus each Insurer’s Claim,
as follows (based on the allocated portions stated in the Zilka Judgment): Aetna --
3722,393.94; Urtited ~» 3218,646.66; CIGNA -- 538,332.35; Humana ~- S26,9l6.27.
Copies of the Creditors’ Claims filed by the Plaintii`f lnsurers ira the Probate Proceeding
are attached hereto as Exhibit B.

ll. On or about October 26, 2(1()'7, Defendant Aril< Zilka, as Administrator of
the Estate of Haya Zilka, rejected the Creditots’ Clairns filed by the Plaintiff lnsurers.
Upon information and belief, the Adrninistrator rejected the Plaintiff lnsurers’ Claims
based on the Satist`action Otdcr that was the subject of the Plaintiff lnsurets’ then~
pending Appeal. Copies of the Administtator‘s i\iotices of Rejection of the Plaintiff
lnsttrers5 Claims are attached hereto as Exhibit C‘

12. On November 13, 2001 the limited States Co'urt of Appcals for the i\linth
Circuit decided the Appeal. The Court of Appeals reversed and vacated the Satisfaction
Order2 and remanded the matter back to the i)istrict Coirrt to determine the amount ot` the

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GARTENBERG Gttl§AND WAssoN a SELDEN LLP

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§ Zil.ka ludginent that remains unsatisfied after a proper application ot` settlement credits

2 A copy of the Decision of the Court of Appeals on the Appeal is attached hereto as
3 Exhibit D.

4 13. Atter the reversal and remand on the Appeal, counsel for the Plaintit`f
5 lnsurers’ wrote two letters to counsel for the Adrninistrator, dated Decemher 3, 2007 and
6 january 16, 2008, informing the Adrninistrator of the reversal, asking the Adrnini.strator to
7 withdraw his rejection of` the Plaintiff lhsurers’ Cl_airns and inviting discussion concerning
3 the Estate and its assets generally Both those letters, as well as several follow-up
9 telephone messages to the Adr.niriistrator’s counsel, were ignored Additional efforts lay

10 counsel for the Plaintiff Insurers to initiate a productive discussion through the attorney
11 Who represented Haya Zilka in the District Court (and who works in the same suite of`
12 offices as the Adrninistrator’s counsel) were also ignored Copies of the letters from
13 Plaintiff lnsorers’ counsel to the Adniinistrator’s counsel dated l)ecernber 3, 200'7 and

14 January 16, 2008 reflecting and recounting those yarious efforts are attached hereto as

15 Exhibits E and F.

is 14. The Adrninistrator’s failure to withdraw his rejection of the Plaintit`f

17 lnsurers’ Clairns constitutes bad faith by the Adrninistrator.

is 15. Uridcr California Probate Code § 9353, a creditor’s claim that is rejected by
19 the Adrninistrator of an estate, as Plaintiff lnsurers’ Claitns were rejected by Defeudant
20 Aril< Zilka as Administrator of Haya Zilka’s Estate, is “barred” unless, within 3 months of
21 the Notice of Rejection, the creditor commences a lawsuit or other legal proceeding
22 seeking an adjudication that the claim is valid llavirig attempted without success to

23 avoid the necessity of such action, Piaintit`f lnsurers have been compelled to commence

24 this lawsuit

2? their Claini_s in the Probate Proceeding attached hereto as iiahihit B are valid and must he

23 accepted; {2} award Plaintii`fs their court costs ao_d, under Calif`ornia Prohate C.ode §

 

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26 WHEREFORE, Pl.aintift`s respectfully request that the Court (l`) determine that §

 

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A LlMlT£D LIABILITY F’AR`§'NERSH§P
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9354(c), their reasonable litigation expenses including attorneys’ fees; and (3) award

Plaintifi'“s such other and further relief as the Court may deem just and proper under the

circumstances

Dated: January 24, 2008

time i_oor_:‘

GARTENBERG GELFAND
WASSON & SELDE\I LLP

    

   

 

By ' cl reer
Edwar 'artenberg §»--»-~_--~

 

Atto eys for Plaintifts\

KORNSTEIN V}BISZ WEXLER & POLLARD, LLP
Marvin We"xler
Lawreuce C. Fox

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COMPLAI'NT

 

